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 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )    No. CR-S-09-196 GEB
                                                    )
10                      Plaintiff,                  )
                                                    )    STIPULATION AND ORDER
11         vs.                                      )    CONTINUING STATUS
                                                    )    HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                )
                                                    )
13                      Defendant.                  )
                                                    )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record,

17   CAROLYN DELANEY, stipulate and agree to the following:

18         1. The presently scheduled date of December 10, 2010 for Status Hearing

19         shall be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for January 14, 2011 at 9:00 a.m..

21         2. Defense counsel has been in a lengthy trial and, therefore, has been

22         unavailable to defendant for purposes of discussing the Plea Agreement.

23         On December 7 th , said trial went to the jury and defense counsel is now
24         available to properly represent his client.
25
           3. Both defense and government counsel anticipate that the case will be
26
           ready for entry of plea on January 14, 2011. Accordingly, the parties stipulate
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 1         that time be excluded pursuant to 18 U.S. C. §3161(h)(7)(A) [Local Code T4]

 2         – additional time to adequately prepare for pretrial proceedings.

 3

 4
           IT IS SO STIPULATED.
 5
     Dated:   December 8, 2010                 /s/ CAROLYN DELANEY
 6
                                              Assistant U.S. Attorney
 7                                            for the Government

 8

 9   Dated: December 8, 2010                  /s/ PETER KMETO
                                              Attorney for Defendant
10
                                              MICHAEL LEON W ILLIAMS
11

12

13                                            ORDER

14               UPON GOOD CAUSE SHOW N and the stipulation of the two parties,

15   it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,

16   only, be continued as set forth above.

17               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)
18   and Local Rule T-4 until January 14, 2011 for continuity of defense counsel and
19   time to permit defense counsel to prepare and properly advise his client.
20
     Dated: December 8, 2010
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23
                                         GARLAND E. BURRELL, JR.
24                                       United States District Judge
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